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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF FLORIDA
                           DIVISION

MAGPUL INDUSTRIES CORP.,

       Plaintiff,

v.                                           Case No. 4:13-cv-439-MW/CAS

MATTHEW GOTTLIEB,
RUDY’S RA1 ACCESSORIES,
and DOES 1-100,

      Defendants.
_______________________________/

                             ORDER FOR DISMISSAL

      The parties have filed a stipulation, ECF No. 41, indicating that this case has

been settled. Accordingly,

      IT IS ORDERED:

      1. The parties must comply with their settlement agreement.

      2. All claims other than for enforcement of the settlement agreement are

voluntarily dismissed with prejudice under Federal Rule of Civil Procedure 41.

      3. Jurisdiction is retained to enforce the order to comply with the settlement

agreement.

      4. The clerk must enter judgment stating, “The parties are ordered to

comply with their settlement agreement. The court reserves jurisdiction to enforce

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the order to comply with the settlement agreement. All claims in this case are

voluntarily dismissed with prejudice under Federal Rule of Civil Procedure 41.”

      5. The clerk must close the file.

      6. A party who objects to the terms of this order or the judgment to be

entered based on this order must file a timely motion to alter or amend under

Federal Rule of Civil Procedure 59(e).

      SO ORDERED on January 7, 2014.

                                              s/Mark E. Walker
                                              United States District Judge




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